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                 EXHIBIT B-059
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                           IN THE FULTON COUNTY SUPERIOR COURT                                  FULTON COUNTY GA
                                         STATE OF GEORGIA
    IN RE SUBPOENAS FROM MAY 2022 )                        Case N0. 2022-EX-000024
    SPECIAL PURPOSE GRAND JURY                    )

    SUBPOENAS ISSUED TO: Presidential Nominee Electors Mark Arnick, Joseph Brannan, Brad
    Carver, Vikki Consiglio, John Downey, Carolyn Fish, Kay Godwin, Cathy Latham, David Shafer,
    Shawn Still, CB Yadav

                       MOTION FOR RECONSIDERATION OF JULY 25, 2022
                     DISQUALIFICATION ORDER OR, IN THE ALTERNATIVE,
                         FOR A CERTIFICATE OF IMMEDIATE REVIEW
             NOW COME the above-referenced subpoena recipients and move this Court to reconsider

    its denial of their motion for disqualiﬁcation of the Fulton County District Attorney and her ofﬁce

    or, in the alternative, for a Certiﬁcate of Immediate Review, showing this Court as follows21

                         INTRODUCTION AND FACTUAL BACKGROUND

             On July 15, 2022, Senator BurtJ ones, one of the sixteen Republican presidential elector

    nominees in the 2020 election and current candidate for Lieutenant Governor, moved this Court to

    disqualify District Attorney Fani Willis and her ofﬁce from their current investigation through the

    Special Purpose Grand Jury into alleged disruption in. the 2020 election based upon a disqualifying

    conﬂict of interest. On July 19, 2022, the above—referenced eleven of the sixteen Republican

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    presidential nominee electors joined in Senator ones’s motion and also moved to quash their

    subpoenas to appear before the Special Purpose Grand Jury.

             On July 25, 2022, this Court determined that DA Fani Willis had a direct, actual, and

    disqualifying conﬂict of interest in this investigation and issued an order disqualifying her and her

-
    ofﬁce from investigating or prosecuting Senator Jones only. See July 25, 2022 Disqualiﬁcation




    1
        If this Court believes that oral argument would'be useful in resolving this Motion, we request
    oral argument.
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     Order (“July 25 Order”); Speciﬁcally, the Court determined that DA Willis’ decision to headline,

     in her ofﬁcial capacity, a fundraiser for Senator Jones’ opponent for Lieutenant Governor created

     “a plain — and actual and untenable — conﬂict.” July 25 Order at 4. The Court aptly noted

             [T]he fact that concern about the District Attorney’s partiality naturally,
             immediately, and reasonably arises in the minds of the public, the pundits, and
                                                                                                  —
1/




             most critically — the subjects of the investigation that necessitates disqualiﬁcation.
             An investigation of this significance, garnering the public attention it necessarily
             does and touching so many political nerves in our society, cannot be burdened by
             legitimate doubts about the District Attorney ’s motives. The District Attorney does
             not have to be apolitical, but her investigations do.

     Id. at 5 (emphasis added). The Court, however, limited the disqualiﬁcation of the DA and her

     ofﬁce to the investigation of Senator Jones only and declined to disqualify the DA and her team

     from the investigation as a whole or the investigation of all of the other Republican presidential

     nominee electors.    Id.    For the reasons set forth herein, the eleven above-named Republican

     electors respectfully request that this Court reconsider its July 25 Disqualiﬁcation Order to

     disqualify the DA and her ofﬁce from this entire proceeding, from investigation through any

     possible prosecution, or in the alternative, to include these nominee electors in the Senator Jones

     carve-out.

                            ARGUMENT AND CITATION OF AUTHORITY

        I.        A Disqualifving Conﬂict of Interest Disqualifies a DA and Her Ofﬁce From All
                  Proceedings. From Preliminary Investigation Through Trial.

             Under Georgia law, “a Georgia district attorney is of counsel in all criminal cases or matters

     pending in [her] circuit.    This includes the investigatory stages 0f matters preparatory to the

     seeking ofan indictment as Well as the pendency of the case.” McLaughlin v. Payne, 295 Ga. 609,

     613 (2014) (quoting King v. State, 246 Ga. 386, 389 (1980)) (emphasis added). And, as this Court

     noted in its July 25 Order, when the elected DA is disqualiﬁed from an investigation and/or
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     prosecution, so, too, is her entire ofﬁce. See July 25 Order at 5 n. 11 (citing McLaughlin, 295 Ga.

     at 613).

                In this case, there is a single Special Purpose Grand Jury investigating a speciﬁc subject —

     “any coordinated attempts to unlawfully alter the outcome of the 2020 elections in [Georgia].” See
{I




     DA Willis January 20, 2022 Letter to Chief Judge Brasher Requesting Special Purpose Grand Jury.

     As the DA stated in her request letter, “the special purpose grand jury would be empowered to

     review this matter and this matter only, with an investigatory focus appropriate to the complexity

     of the facts and circumstances involved[.]” Id. This Special Purpose Grand Jury will issue a single

     report making recommendations to this DA’s Ofﬁce as to potential indictments.

                This Court has properly determined that the DA and her ofﬁce have a disqualifying conﬂict

     in the Special Purpose Grand Jury investigation and subsequent prosecutions.              Georgia law

     provides that this disqualiﬁcation, therefore, applies to her and her ofﬁce’s participation in the

     proceedings as a whole, including the entirety of Special Purpose Grand Jury investigation and

     any subsequent indictments, not merely to one potential target or witness of the grand jury’s

     investigation. Instead of disqualifying the conﬂicted prosecuting entity as Georgia law suggests

     is the appropriate remedy, however, the July 25 Order essentially “disqualiﬁes” or carves out

     Senator Jones, the individual with whom the prosecuting entity has the actual conﬂict, from the

     investigation.     Neither Senator Jones’s motion nor the Court’s July 25 Order cites Georgia

     authority permitting this reverse disqualiﬁcation or carve-out imposed in the July 25

     Disqualiﬁcation Order, and undersigned counsel has similarly found none.

                For these reasons, the above-referenced nominee electors request that this Court reconsider

     its order limiting the scope of the DA and her ofﬁce’s disqualiﬁcation and instead order that the

     DA’s disqualiﬁcation applies to the entire investigation and all subsequent proceedings.
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     II.      Mualification of the DA and Her Ofﬁce from Invesﬁggmg or Prosecuting
              Senator Jones Alone Does Not Sufficientlv Redress the Conﬂict or Its Implications
              for the Other Republican Nominee Electors.

           The practical implications of and obstacles unsolved by the current reverse disqualiﬁcation

or carve-out of Senator Jones underscore the need for the disqualiﬁcation to apply to the DA and

her team and to do so more broadly. Even if Georgia law permitted carving out those affected by

a DA’s actual, disqualifying conﬂict from the purview of a Special Grand Jury investigation and

that DA’s Ofﬁce (as opposed to requiring the disqualiﬁcation of the DA and her ofﬁce from that


process), the July 25 Order’s carve-out is too narrow to address the scope of the DA’s disqualifying

conﬂicts and personal interests here.       Speciﬁcally, it leaves behind ﬁfteen other Republican

presidential nominee electors, all of whom have signiﬁcant roles within the Georgia Republican

Party and the majority of whom are and have been public and active political and ﬁnancial

supporters, donors, fundraisers, and campaigners for Senator Jones’ campaign for Lieutenant

Governor speciﬁcallyz        Many of the presidential elector nominees bringing this Motion are

ofﬁcers in the Georgia Republican Party, members of the State Executive Committee of the

Georgia Republican Party, leaders in the Georgia Republican Party’s uniﬁed campaign effort (the
                         3




Georgia Victory Program) for all Georgia Republican candidates for ofﬁce, and/or members of the




2
    All eleven electors in this Motion have contributed ﬁnancially to Senator Jones’ campaign,
assisted him in raising campaign funds, attended his campaign events, or all three of those things.
3
  The nominee electors who are current and immediate past members of the State Executive
Committee of the Georgia GOP David Shafer (Chairman), Shawn Still (Finance Chairman),
Joseph Brannan (Treasurer), Vikki Consiglio (Assistant Treasurer), Ken Carroll (Assistant
Secretary), Brad Carver (District Chairman), Carolyn Fisher (immediate past First Vice
Chairman), and Cathy Latham (immediate past representative of County Chairmen). All members
of the State Executive Committee are also members of the Georgia Republican State Committee,
which is the governing body of the Georgia Republican Party, and Kay Godwin is also a member
of the State Committee.
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Georgia Republican Party’s fundraising arm, the Georgia Republican F oundation,4 each cf which

is a                        of the Party’s campaign effort to elect the nominated Republican candidates
       critical component
in the November 2022 election, speciﬁcally including the Republican nominee for Lieutenant

Governor. See Exhibit A (Afﬁdavit of Joseph M. Proenza).

          As explained in the attached afﬁdavit, the Georgia Republican Party, acting through its

State Executive Committee, funds and directs ground support for the Georgia Republican

candidates, especially those for state-wide ofﬁce, which effort is called “Georgia Victory.”

Georgia Victory hires ﬁeld organizers and ﬁeld directors to serve as the “ground game” for the

Republicans on the ballot, and it organizes paid staff and volunteers to campaign for the

Republican candidates by knocking on voters’ doors to share information and literature about the

candidates. Id.     Georgia Victory 2022 speciﬁcally includes campaign efforts for Senator Burt

Jones’ campaign for Lieutenant Governor.          Id.   The Georgia Republican Foundation ﬁnancially

supports all of the efforts of the Georgia Republican Party, including these campaign functions.

Id.


          Additionally, nominee elector Shawn Still is a candidate for the Georgia Senate on the

same Republican ticket as Senator Jones, which is being supported ﬁnancially and with campaign

assistance and resources by the Georgia Republican Party through its ofﬁcers and the Georgia

Victory Program. Like many of the other elector nominees, he has donated to Senator Jones’

Lieutenant Governor campaign, and he has raised campaign donations and attended campaign




4
  Nominee electors Who are currently on the Board of Governors of the Georgia Republican
Foundation: Daryl Moody (Chairman), David Shafer, Shawn Still, Vikki Consiglio, Mark Amick.
Nominee electors who are current or past members of the Republican Foundation within the last
two years: Daryl Moody, David Shafer, Shawn Still, Vikki Consiglio, Mark Amick, Joseph
Brannan, CB Yadav, Brad Carver, Mark Hennessy, and Burt Jones.
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functions for Senator Jones.   As of August 20, 2022, Mr. Still and Senator Jones will share

campaign space and resources in their Johns Creek ofﬁce.

        Excising Senator Jones from the grasp of the Fulton County DA and the SpecialiPurp'ose

Grand Jury because of the DA’s disqualifying conﬂict while leaving the other presidential elector

nominees, particularly these eleven elector nominees who are inextricably intertwined with

Senator Jones and his campaign, is akin to removing a naval ofﬁcer from the ambit of a biased,

conﬂicted court martial tribunal but leaving his fellow ofﬁcers, lieutenants, and sailors, all of

whom are accused of performing the same acts as the naval ofﬁcer, behind to be judged by that

conﬂicted tribunal. Put another way, this situation is analogous to deciding that the referees in an

NCAA basketball game are biased against one of the two team’s head coach (and perhaps his team

in general) and seeking to cure that bias by removing the head coach from the team but leaving

behind the assistant coaches and players to compete in a game refereed by those same biased

referees.


        Obviously, the stakes in this matter are much higher than a basketball game. But in these

analogous scenarios, it seems plain that removing the naval ofﬁcer or the head coach alone does

not cure the disqualifying conﬂict: instead, the removal of the person or entity With the

disqualifying conﬂict themselves from the playing ﬁeld is necessary to sufﬁciently cure the taint

and bias. Here, that is the DA and her ofﬁce.   Absent that result, however, and at the very least,

the entire hypothetical naval squad should be protected from the biased court martial tribunal, and

the entire hypothetical basketball team should be excused ﬁom the game with the biased referees.

        Indeed, because Senator Jones has been removed from this investigation, there is arguably

an even greater likelihood that the ofﬁcers of his campaign partners, his running mates, his

ﬁnancial supporters, and his key political allies could be treated even more harshly. Having been
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prevented by this Court’s Disqualiﬁcation Order from affecting Senator Jones personally any

longer, the DA’s Ofﬁce could nonetheless directly impact Senator Jones and his campaign through

publicly damaging the reputations and ﬁnancial resources of his political party and his key‘political

allies and ﬁnancial supporters, who are the Party’s prominent ofﬁcers, members, donors, and

candidates (i.e., the other Republican presidential nominee electors, among others). In at least this

way, the limitations of the July 25 Disqualiﬁcation Order are insufﬁcient to address the legitimate

concern identiﬁed therein — concern that “the District Attorney’s partiality naturally, immediately,

and reasonably arises in the minds of the public, the pundits, and — most critically — the subjects


0f the investigation.” July 25 Order at 5 (emphasis added).5
       Given how inextricably intertwined the other Republican presidential nominee electors are

in their capacity as ofﬁcers of the Georgia Republican Party and as key political allies and ﬁnancial

supporters of Senator Jones’ campaign, the DA and her ofﬁce’s disqualifying conﬂict with Senator

Jones spills over onto them, and her involvement in the investigation into and potential indictment

of their conduct suffers from the same “entirely reasonable concerns of politically motivated

prosecutionz” to wit, are these elector nominees   -—
                                                        who are “accused” of performing the same acts

and functions as Senator Jones as Republican presidential elector nominees, who are ofﬁcers in

                                                             J
the organization responsible for partnering with Senator ones’ campaign, who are public political

and ﬁnancial supporters of his campaign, and who, at least in one case, is a candidate for ofﬁce

himself and campaigning directly with and on the same Republican ticket with Senator Jones         --




5
  It also seems contrary to fundamental notions of fairness that Senator Jones, who served as a
Republican presidential nominee elector in 2020 in the same material way as did all of the‘movants
here, could have his virtually identical conduct assessed entirely differently by a different,
objective prosecutor, potentially resulting in identical conduct being treated and prosecuted (or not
prosecuted) very differently. The material actions of the Republican elector nominees in the 2020
election were the same, and the assessment of their righteousness and/or the appropriate
consequences (or lack thereof) for those actions logically should rise or fall together.
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being singled out or treated more harshly because of a desire to discredit Senator Jones and/or help

his opponent. Id. As the Court noted in the context of Senator Jones himself, “the actual answer

does not matter . . . .[n]or is it knowable, which is another reason to separate the District Attorney

and her ofﬁce from any investigation . . . .” Id. and n. 9.   Under these circumstances, the public,

the pundits, and the subjects of this investigation cannot have any conﬁdence that the investigation

and any decisions as to the ultimate prosecution of any of these elector nominees will not have

been infected by this personal and political actual conﬂict the Court has already determined exists.6

       At this juncture, it is difﬁcult to fully predict all of the practical and legal issues that

excising Senator Jones alone instead of disqualifying the DA and her team themselves could

ultimately cause, but at least one foreseeable scenario raises signiﬁcant fairness and due process

concerns For instance, if the DA and/or her ofﬁce were to ultimately indict one or more of the

eleven nominee electors still under their purview and such nominee elector were to go to trial,

Senator (or perhaps by then Lieutenant Governor) Jones could be an important or even necessary

witness in that person’s defense. But because of the DA’s disqualifying conﬂict with Senator




6
  Nor is such a result consistent with the DA and her team’s ethical obligations not to allow their
“professional judgment or obligations to be affected by the prosecutor’s personal, political,
ﬁnancial, professional, business, property, or any other relationships. A prosecutor should not
allow interests in personal advancement or aggrandizement to affect judgments regarding what is
in the best interests of justice in any case.” ABA CRIMINAL JUSTICE STANDARD FOR THE
PROSECUTION FUNCTION 3—1.7. The ABA Standards for the Prosecution Function are cited
favorably in the comments to Georgia Rule of Professional Responsibility 3.8, Special
Responsibilities of a Prosecutor. Cf 28 U.S.C. § 528 (requiring Attorney General to “require the
disqualiﬁcation of any ofﬁcer or employee of the Department of Justice, including a United States
attorney or a member of such attorney’s staff, from participation in a particular investigation or
prosecution if such participation may result in a personal, ﬁnancial, or political conﬂict of interest,
or the appearance thereof”); USAM 9-27.260 (in determining whether to commence or
recommend prosecution, an attorney for the government should not be inﬂuenced by, among other
things, a person’s political association or the attorney’s own personal feelings concerning the
person, the person’s associates, or the possible effect of the decision on the attorney’s own
professional or personal circumstances).
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Jones, he may reasonably fear that testifying in a trial that she or her ofﬁce is prosecuting creates

palpable legal risks for him that he is unwilling to take.

       For example, all of the Republican nominee electors have publicly made clear that they did

not and could not have committed any crime in relation to the performance of their duties as

nominee electors in the 2020 election and that, in fact, their actions are speciﬁcally permitted and

protected by federal and state law. See, e. g, July 19, 2022 Motion to Quash and Disqualify at 7-

18 (“July 19 Motion”) (outlining that the nominee electors’ actions are required by, protected by,


and permitted by federal and state law and that the DA and her ofﬁce lack jurisdiction to

criminalize any such actions). The DA and her team have yet to acknowledge or agree with these

facts or legal points, and if they indicted a nominee elector in this hypothetical
                                                                                      scenario, they

plainly will still not have accepted these truths. Should Senator Jones testify to the true facts

establishing the lawful conduct of all of the nominee electors on behalf of any indicted elector, he

would run the risk that the DA, who has already been disqualiﬁed from investigating or prosecuting

him because of her actual conﬂict of interest, would attempt to indict him for false statements or

perjury simply because she does not believe or want to accept his truthful testimony. In other

words, to testify in this scenario for his fellow electors, Senator Jones would be forced to place

himself back in the crosshairs of a DA’s ofﬁce who has been disqualiﬁed from investigating or

prosecuting him because of a direct conﬂict of interest with him.

        And should Senator Jones be unwilling to do that (which would not seem unreasonable

under those circumstances), the hypothetical indicted fellow elector would be deprived of the

beneﬁt of his presumably helpful, perhaps even necessary and exculpatory, testimony. Other

similar fairness and due process problems that are not currently foreseeable, at least to the

undersigned, would also likely arise. And by the time these circumstances present and reveal
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themselves, it will be too late to cure them. These potential fairness and due process problems are

presumably at least one of the reasons that Georgia law requires the disqualiﬁcation of the DA and

her team from an investigation when there is an actual conﬂict of interest, not the siphoning off or


carving out of one of the investigated.

           Importantly, none of this is necessary, and these potential problems are avoidable.     If this

investigation is truly aimed at seeking the truth, there is no objective reason another District

Attorney’s Ofﬁce appointed by the executive director of the Prosecuting Attorneys' Council of

Georgia in accordance with Georgia law could not conduct this investigation adequately, fairly,

and free from the existing personal and political conﬂicts with this DA and her ofﬁce. The DA’s

established actual conﬂict with Senator Jones combined with her targeting of only Republicans,

particularly Republican ofﬁcers, ofﬁcials, and candidates whose political and ﬁnancial efforts are

inextricably intertwined with Senator Jones’ campaign, establish both an actual conﬂict and the

appearance that the DA has acquired a personal and political interest in this investigation and/or

subsequent prosecutions, which is a separate and independent ground for her disqualiﬁcation. See,

e. g.,   Whitworth v. State, 275 Ga. App. 790, 793 (2005) (outlining that two grounds for prosecutor

disqualiﬁcation are when there is a conﬂict of interest and when the prosecutor has acquired a

personal interest or stake in the investigation/prosecution).

           If this investigation is truly intended to get to truth and be guided by the law and the facts,

and not about political or personal advancement, advantage, or persecution, the DA would


voluntarily exclude herself and her ofﬁce from the investigation at this point where an actual,

disqualifying conﬂict of interest that threatens the objectivity and integrity of this investigation

and any subsequent proceedings has been found.              She could and should have requested the




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appointment of a non-conﬂicted DA and ofﬁce under O.C.G.A. § 15-18-5(a).7 As this Court

correctly noted, “An investigation of this signiﬁcance, garnering the public attention it necessarily

does and touching so many political nerves in our society, cannot be burdened by legitimate doubts

about the District Attorney ’s motives. The District Attorney does not have to be apolitical, but her

investigations do.” See July 25 Order at 5 (emphasis added). Under these circumstances and to

protect the integrity of this investigatory process, we ask that this Court reconsider its July 25,

2022 Disqualiﬁcation Order and exclude the DA and her ofﬁce from this investigation and any

subsequent proceedings in toto or, in the alternative, to include the other presidential nominee

electors in the Court’s carve-out from her investigation and future proceedings.

      III.     In The Alternative The Nominee Electors Seek a Certiﬁcate of Immediate
               Review.

             If the Court declines to reconsider its July 25, 2022 Disqualiﬁcation Order, the nominee

    electors request that this Court issue a Certiﬁcate of Immediate Review pursuant to O.C.G.A.

    § 5-6—34(b).     The issues involved in this disqualiﬁcation analysis turn on facts and

    circumstances that have not been developed with this level of speciﬁcity under Georgia law.

    Indeed, the current caselaw as to disqualiﬁcation of a prosecuting attomey’s ofﬁce in Georgia

    on both grounds   -—
                           conﬂict of interest and personal stake   --
                                                                         is relatively limited and narrow in

    scope. No appellate Court in Georgia has directly considered the precise issue presented in this

    case—namely, whether a District Attomey’s actual conﬂict of interest in an investigation or

    prosecution can be “cured” solely by carving out the individual with whom the DA has the

    actual conﬂict as opposed to disqualiﬁcation of the DA and her ofﬁce from the investigation




7
 This statute provides that when a district attomey’s ofﬁce is disqualiﬁed from an investigation
or prosecution, the district attorney shall notify the executive director of the Prosecuting Attomeys'
Council of the State of Georgia, who shall appoint a replacement.


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 itself and any subsequent prosecutions.

          The importance of ensuring that the disqualiﬁcation issue is fully and accurately

 resolved is clear under Georgia law: for a prosecutor to have a conﬂict of interest is “contrary

 to public policy” and “can warrant a new trial.” McLaughlin, 295 Ga. at 294 (citations omitted).


 Getting clear direction from the appellate courts on this critical issue at this early juncture in

 the process is a compelling and immediate interest. The eleven nominee electors, therefore,


 respectfully request that the Court grant a Certiﬁcate of Immediate Review of its decision if it

 declines to reconsider its July 25 Disqualiﬁcation Order.

   IV.      Conclusion and Prayer for Relief

         For the reasons set forth herein, these eleven nominee electors respectfully request the

following relief:

    l)   Reconsideration of the July 25 Disqualiﬁcation Order to disqualify the DA and her ofﬁce

         from the entire investigation and any subsequent proceedings; or

   2) In the alternative, reconsideration of the July 25 Disqualiﬁcation Order to include all of the

         Republican presidential nominee electors in the “carve—out” from this investigation and

         subsequent proceedings previously applied only to Senator Jones; or

    3) In the alternative, issue a Certiﬁcate of Immediate Review if this Court declines to

         reconsider its July 25 Disqualiﬁcation Order; and

    4) that this Court grant all other appropriate relief.




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                       EXHIBIT A
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                       Respectfully submitted this the 16th day of August,




Wﬁm
Holiy A
Georgia
          ier on
                o. 579655
                            v
                                                     Kimberly Bourroughs Debrow
                                                     Georgia Bar No. 231480
PIERSON LAW LLC                                      STRICKLAND & DEBROW LLP
2951 Piedmont Road NE                                246 Bullsboro Drive, Suite A
Suite 200                                            Newnan, GA 30263
Atlanta, GA 303 05                                   kimberl\1@debrowlaw.com
hpierson@piersonlawllc. com                          678-3 50-1095
404-353—23 l6



                                Counsel for Nominee Electors




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                                   CERTIFICATE OF SERVICE
       I hereby certify that I have ﬁled the foregoing Motion to Reconsider July 25, 2022

Disqualiﬁcation Order or, In the Alternative, for a Certiﬁcate of Immediate Review twith the

Clerk of Court of the Fulton County Superior Court and that date-stamped copy will be hand-

delivered to the Fulton County District Attorney’s Ofﬁce today.

        Respectfully submitted this the 16th day of August, 2022.




                                            Holly A.    1ers n
                                            Georgia B      o. 579655




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                        IN THE FULTON COUNTY SUPERIOR COURT
                                         STATE OF GEORGI§A
    IN RE SUBPOENAS FROM MAY 2022                           )        :Case No. 2022-EX-000024
    SPECIAL PURPOSE GRAND JURY )

    SUBPOENAS ISSUED TO: Presidential Nomineé Electors Mark Amick, Joseph
    Brannan, Brad Carver, Vikki Consiglio, John Downey, Carolyn Fish, Kay Godwin, Cathy
    Latham, David Shafer, Shawn Still, CB Yadav
                                                                      '




                            AFFIDAVIT OF JOESEPH M. iPROENZA
                I




           l.       My name is Joseph M. P'roenza, and I am over the age of twenty-one (21)

    and am competent in all respects to
                                               testify to the matters: set forth herein.

           2.       I am a professional political consultant,                  and campaign manager, and
                                                                   adévisor,
V




    I have served in these capacities since 2018.                     *




           3.       From May 2019 through May 2021, I                       as the Political Director for the
                                                                  servied
                                     1

                                                                      E




    Georgia Republican Party.

           4.       From January 2020 through January 2021, I also served as the Political

    Director of the Georgia Republican Party’s Victory
                                                                  Proégram.
           5.       From November 2020 through January 2021, I                        as the Deputy Election
                                                                             served
    Day Operations Director (EDO) for the Georgia Republican Party’s Victory Program.

          '6.       Since June 2021 through July                I have served as a campaign manager for
                                           I
                                                       2022,
    various Republican candidates for state and federal Ofﬁces in Georgia. I have stayed

    apprised of the Operations and efforts of the Georgia :Republican Party and its Victory

    Program during this time as well.

           7.       From my service as the Political Director of the Georgia Republican Party

    and its Victory Program, I am familiar with the operations and structure of the Georgia
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     Republican Party.        I am also familiar with the operation and structure of the Victory

     Program.

               8.        The Georgia Republican Party’s governing body is the State Convention.

     The Georgia Republican State Committee is analogous to the Party’s Board of Directors,
'l




     and the Georgia Republican State Executive Committee is analogous to the Party’s C¢suite.

               9.       The Georgia Republican Foundation is oriie of the Party’s main fundraising

     bodies.        lt supports all of the operations and efforts of the Georgia Republican Party,

     including campaign functions.

               10.      The Georgia Republican Party, acting through its State and Executive

     Committee, funds and leads a uniﬁed campaign effort for the beneﬁt of all Georgia

     Republican candidates for ofﬁce called the Victory Program}

               11.      The Victory Program funds and directs ground support of Georgia

     Republican candidates, especially those for state-wide (jifﬁce, The Victory Program hires

     ﬁeld organizers and ﬁeld directors to serve as the ground game for these Republicans on
                                                                       t




     the ballot.       It organizes paid staff and volunteers to gknock on voters’ doors to share
                                                                       l




     information and literature about the candidates.

               12.       The Victory Program is particularly impiortant and helpful to down ballot

     statewide races like that for Lieutenant Governor.               Georgia Victory 2022 speciﬁcally

     includes campaign efforts on behalf of Senator Burt J bnes in his bid for the Lieutenant
                                                                       l




     Governor position.                                                i




     ‘ The
          Georgia Republican Party’s Victory Program has variations tio its name for different elections, but the
     operations and flmctions of the Victory Program are larg el Y the sajrne from election to election.
                                                                           i




                                                          2
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               13.   Given their roles as ofﬁcers of the Georgia Republican Party and as key

     political allies and ﬁnancial supporters of Senator Jones campaign, the eleven Republican
                                                                   9




     presidential nominee electors referenced in the case caption above are inextricably

     intertwined with Senator Jones’ Lieutenant Governor campaign and with the Victory
II




     Program.

        FURTHER AFFIANT SAYETH NOT.




       [ff/(767’ 0/ {Jaw/.7”     .'   5;
     Sworn to and subscribed before me

     this    {find/5y of August, 2022.


                                           My Commission Expires
                                              August 31, 2024
